      Case 1:23-cr-00490-SHS        Document 80      Filed 10/25/23    Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
               v.
                                                                 23-Cr-490 (SHS)
ROBERT MENENDEZ, NADINE MENENDEZ,
WAEL HANA, JOSE URIBE, and FRED DAIBES,                          ORDER
                             Defendants.


SIDNEY H. STEIN, U.S. District Judge.
    As discussed at the classified and ex parte hearing pursuant to Section 2 of the
Classified Information Procedures Act,
   IT IS HEREBY ORDERED that the Government produce their classified and ex parte
motion pursuant to Section 4 of the Classified Information Procedures Act on or before
February 9, 2024.


Dated: New York, New York
       October 25, 2023

                                           SO ORDERED:
